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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK


   UNITED STATES OF AMERICA


          -against-                                      Criminal Docket No. 13-0607 (JFB)


   PHILIP A. KENNER, et al.,                              VERIFIED CLAIM OF SH55, LLC AND
                                                          KENNETH A. JOWDY TO
                                                          ADJUDICATE INTEREST IN
                          Defendants.                     PROPERTY PURSUANT TO 21 U.S.C.
                                                          § 853(n)




         Claimants SH55, LLC (“SH55”) and the sole owner of SH55, Kenneth A. Jowdy

  (together, “Claimants”), by their attorneys, Freeh Sporkin & Sullivan, LLP and Farrell Fritz,

  P.C., as and for this Verified Claim pursuant to Title 21, United States Code, Section 853(n),

  hereby assert all right, title and interest in, and make a claim upon, the property identified below

  that was ordered forfeited in the above captioned case by the Preliminary Order of Forfeiture (the

  “Preliminary Order”) issued on March 16, 2020.

         1.      Pursuant to 21 U.S.C. § 853(n), Claimants assert their right, title and interest as a

  bona fide purchaser for value of the real property and premises that is designated as Parcel #55

  located in the Sunset Hill Condominium development (“Sunset Hill Parcel #55”) within the

  resort property known as Diamante Cabo San Lucas, located at Boulevard Diamante s/n, Los

  Cangrejos, Cabo San Lucas, B.C.S. Mexico 23473 (“Diamante” or the “Resort Property”). The

  Sunset Hill Parcel #55 was ordered forfeited in paragraph A(6)(iv) as part of an exclusion to the

  carve out relating to ownership interests in real property set forth in paragraph A(6)(ii) of the
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  Preliminary Order. At the time of purchase of Sunset Hill Parcel #55 for USD $200,000.00 in

  2014, Claimants lacked reasonable cause to know that the real property was subject to forfeiture.

  Moreover, Claimants have expended more than USD $1.45 million, excluding furnishings,

  fixtures, and accessories, to complete the construction of a private home on Sunset Hill Parcel

  #55 since its acquisition in 2014.

         2.      Claimants first learned of the potential forfeiture of the Resort Property on or

  around August 21, 2015 when the protective order listing the Resort Property was issued. It was

  not until a status conference in this case on July 2, 2019, however, that Claimants first learned

  that Sunset Hill Parcel #55 may be subject to forfeiture because that is when the government

  articulated for the first time that it may challenge SH55’s ownership interest in Sunset Hill Parcel

  #55.

         3.      In or about 2010, Mr. Jowdy agreed to purchase Sunset Hill Parcel #55 from

  Diamante for USD $150,000, but he was unable to secure financing for the purchase of the lot

  and construction of a home until 2013. In or about the Fall of 2013, Mr. Jowdy offered to pay an

  additional USD $50,000 for the lot and agreed to acquire Sunset Hill Parcel #55 from Diamante

  for USD $200,000, and planned to construct a private residence on the lot. Mr. Jowdy arranged

  to acquire Sunset Hill Parcel #55 through SH55, a Delaware limited liability corporation that was

  established for that purpose. Mr. Jowdy is the sole owner of SH55, and SH55 is the beneficiary

  of the Mexican trust established at the time of the closing of the sale of Sunset Hill Parcel #55 by

  Diamante to SH55 in 2014. The Mexican trust holds the title to Sunset Hill Parcel #55 for the

  benefit of SH55 under Mexican law.

         4.      SH55 initially borrowed USD $1,000,000 from a private individual in Mexico in

  January 2014 to fund the acquisition of the lot and a portion of the construction costs that would



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  be incurred. In or about August 2014, SH55 borrowed an additional USD $500,000 from that

  same private individual. A portion of those loan proceeds were used to provide additional

  financing of the construction of the private residence at Sunset Hill Parcel #55.

         5.      On or about February 18, 2014, SH55 effected a wire transfer in the amount of

  USD $200,000 from an account it maintained at TD Bank to an account maintained by Diamante

  at Wells Fargo Bank. This wire transfer reflected the purchase price that SH55 had agreed to pay

  to acquire Sunset Hill Parcel #55. There were no marketing fees or sales commissions applicable

  to this transaction, so the full USD $200,000 was received by Diamante. Copies of the February

  2014 TD Bank statement for the SH55 bank account and the February 2014 Wells Fargo Bank

  statement for the Diamante bank account reflecting the transfer of USD $200,000 to Diamante

  are attached as Exhibit A.

         6.      On or about May 22, 2014, Public Deed #64,083 was filed in the public records in

  Los Cabos Public Registry reflecting the transfer of Sunset Hill Parcel #55 from the Mexican

  trust that owns the Resort Property to a Mexican trust that owns Sunset Hill Parcel #55 for the

  benefit of SH55. A copy of Public Deed #64,083 is attached as Exhibit B.

         7.      Among the documents filed with Public Deed #64,083 in Los Cabos Public

  Registry is an appraisal of Sunset Hill Parcel #55, dated April 11, 2014. The appraisal valued the

  lot at Mex $2,655,585.92 (pesos or Mexican currency), which at the time was approximately

  USD $200,000. A copy of the appraisal of Sunset Hill Parcel #55 is attached as Exhibit C.

         8.      Between March 2014 and September 2015, SH55 caused to be paid to the

  Diamante affiliate responsible for the construction of the private residence at Sunset Hill Parcel

  #55 at least USD $1.45 million, which was the amount that had been invoiced to SH55 for

  construction of the home.



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          9.      On or about May 8, 2015, Public Deed #15,214 was filed in Los Cabos Public

  Registry recognizing the loan in the amount of USD $1,500,000 to SH55 in 2014, and granting a

  mortgage in that amount on Sunset Hill Parcel #55 to guaranty repayment of the SH55 loan. A

  copy of Public Deed #15,214 is attached as Exhibit D.

          10.     In or about December 2016, SH55 obtained a new loan in the amount of USD

  $4,000,000 from a private individual in Mexico. This new loan was to be used, in part, to repay

  the existing USD $1,500,000 loan that had been used to finance the acquisition and construction

  costs incurred by SH55 when it acquired Sunset Hill Parcel #55. On or about April 22, 2017,

  Public Deed #102,432 was filed in Los Cabos Public Registry reflecting the cancellation of the

  USD $1,500,000 debt and release of the mortgage reflected in Public Deed #15,214 (¶ 9 above,

  Exhibit D) and recognition of a loan in the amount of USD $4,000,000 to SH55 and granting a

  mortgage in that amount on Sunset Hill Parcel #55 to guaranty repayment of the USD

  $4,000,000 loan. A copy of Public Deed #102,432 is attached as Exhibit E.

          11.     The USD $4,000,000 loan was for a term of two years and was due to be repaid in

  November 2018. SH55 was unable to repay the loan when due, but continues to pay interest on

  the loan, which presents a significant financial burden to SH55.

          12.     All of the foregoing information, including the exhibits attached to this Verified

  Claim, were provided to the government in February 2020. Despite the uncontroverted evidence

  presented, the government apparently continues to pursue unfairly the real property acquired by

  SH55 for fair value at a time when no person could have reasonably known that the property was

  subject to forfeiture.




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           13.   Under 21 U.S.C. § 853(n), a party is a bona fide purchaser for value who, at the

  time of purchase, lacked reasonable cause to know that the property at issue, in this case Sunset

  Hill Parcel #55, was subject to forfeiture.

           14.   SH55 gave reasonable value when it acquired Sunset Hill Parcel #55 from

  Diamante for USD $200,000 in 2014. Indeed, an appraisal filed with the Public Deed in May

  2014 that reflected the transfer of the lot to the Mexican trust for the benefit of SH55 valued the

  lot at approximately USD $200,000. Moreover, since SH55 acquired the lot, it has invested

  more than USD $1.45 million, excluding furnishings, fixtures, and accessories, in improvements

  in constructing a private home at Sunset Hill Parcel #55.

           15.   SH55 and Mr. Jowdy were without reason to know of the potential forfeitability

  of Sunset Hill Parcel #55 at the time SH55 acquired its interest from Diamante in 2014, or

  advanced funds to construct a private home at Sunset Hill Parcel #55 in 2014 and 2015. It was

  not until on or after August 21, 2015 when the protective order was entered that SH55 or Mr.

  Jowdy were on notice that the government was considering forfeiting the Resort Property and

  any equity interests in the Resort Property. The protective order made no mention of the

  government’s intention to seek to forfeit the privately owned real property of SH55 or Mr.

  Jowdy.

           16.   Indeed, it was not until a status conference in this case on July 2, 2019, that

  Claimants first learned that Sunset Hill Parcel #55 may be subject to forfeiture, because that is

  when the government articulated for the first time that it may challenge SH55’s ownership

  interest in Sunset Hill Parcel #55. Moreover, it was not until August 14, 2019 that the

  government included in a proposed Preliminary Order of Forfeiture any reference to real

  property owned by SH55 or Kenneth Jowdy as among the property potentially subject to the



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  Preliminary Order of Forfeiture. At least three previous versions of proposed Preliminary Orders

  of Forfeiture filed by the government with the Court between October 2016 and May 2019 made

  no reference to real property owned by SH55 or Kenneth Jowdy as potentially being subject to

  forfeiture.

          17.    For the reasons set forth herein, SH55 is a bona fide purchaser of Sunset Hill

  Parcel #55, and as the beneficiary of the Mexican trust that is the owner of record of Sunset Hill

  Parcel #55, has all right, title and interest in Sunset Hill Parcel #55 and the private home

  constructed at that location.




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         I.      PRAYER FOR RELIEF
         18.     WHEREFORE, Claimants SH55 and Kenneth A. Jowdy respectfully request that

  this Verified Claim be granted, that the Court amend the Preliminary Order pursuant to 21

  U.S.C. § 853(n)(6) to recognize SH55’s right, title and interest in the real property and

  improvements located at Sunset Hill Parcel #55, and grant such other and further relief, either at

  law or in equity, to which SH55 and Mr. Jowdy are entitled.



     Dated: New York, New York
            July 16, 2020
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